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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS
EASTERN DIVISION

 

MARVIN FoRGUsoN and CHRisTIE
FoRoUsoN,l

Plaintiffs,
VS. No. 05-1038-T/An
CALIFORNIA REO PROPERTY

MANAGEMENT CoRPoRATIoN,
ET AL.,

\_/\__/\._/\._/\_/\_/\_/\-/\_/\_/\__/\.,/

Defendants.

 

ORDER DENYING MOTION TO DISMISS
OF JOYCE SHEARIN AND KELLY SHEARIN

 

The plaintiffs, Mai'vin Forguson and Christie Forguson, filed this action for
declaratory, injunctive and monetary relief on February ll, 2005 against defendants
California REO Property Management Corporation (“California REO”); Town & Counn'y
Real Estate Company, Inc. (a/k/a Town & Company Realtors), licensed and d/b/a Town &
Country Inc., Realtors GMAC (“Town & Country”); The Coach Approach Realty, LLC
d/b/a Crye-Leike The Coach Approach Realty, LLC (“Crye-Leike”); Joyce Shearin; Kelly

Shearin; Parn Flerning; and Lan'y Fleining. Plaintiffs assert Various causes of action,

 

l ln the complaint, Ms. Forguson’s name is spelled both “Cristie” and “Christie.” The customary spelling
is "Christie” and that is how the case was docketed

et sheet in compliance

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including breach of contract, misrepresentation, Wrongful interference With contractual
rights, and breach of fiduciary and other duties. Before the Court is a motion to dismiss on
behalf of defendants Joyce Shearin and Kelly Shearin, pursuant to Fed. R. Civ. P. lZ(b)(6).
The plaintiffs have responded to the motion.

A motion to dismiss under Rule lZ(b)(6) tests Whether a claim has been adequately
stated in the complaint Rule S(a) requires the pleader to set forth a short and plain statement
ofthe claim showing an entitlement to relief. In evaluating a motion to dismiss under Rule
lZ(b)(6), all allegations in the complaint are taken as true and the complaint is construed
liberally in favor of the party opposing the motion to dismiss. Westlake v. Lucas, 537 F.?.d
857, 858 (6“‘ is that “all a complaint need do is afford the defendant ‘fair notice of what the
plaintiff s claim is and the grounds upon Which it rests.”’ ld_. (qlloting Conley v. Gibson,
355 U.S. 41, 47 (1957)). A motion to dismiss under Rule lZ(b)(6) is appropriate only “if
it is clear that no relief could be granted under any set of facts that could be proved
consistent With the allegations.” Hishon v. King & Snaulding, 467 U.S. 69, 73 (1984)
(citing Qo_nl_ey, 355 U.S. at 45-46)); Allard v. Weitzman (In re Delorean Motor Co.), 99l
F.Zd 1236, 1240 (6“‘ Cir. 1993). A complaint should not be dismissed because it does not
state all the elements giving rise to a legal basis of recovery or because plaintiff
misconceived the proper theory or claim if plaintiff is entitled to relief under any theory.
l\/Iyers v. United States, 636 F.2d 166, 169 (6`h Cir. 198]); Thomas W. Garland. Inc. v. City

of St. Louis, 596 F.2d 784 (8“‘ Cir. 1979), cert denied, 444 U.S. 899 (1979). However,

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legal conclusions or unwarranted factual inferences need not be accepted as true. Mgan
v. Church’s Fried Chicl<en, 829 F.2d 10, 12 (6th Cir. 1987).

This action arises out of a dispute regarding plaintiffs’ attempt to purchase a home
in Eva, Tennessee. The complaint contains the following factual allegations The home in
question was owned by California REO; Joyce Shearin and Kelly Shearin, realtors with
Town & Country, were the listing agents for the property. ln November 2004, plaintiff`s,
who are residents of Indiana, were shown the property by defendant Larry Fleming, who
was also a realtor with Town & Country. Plaintiffs made an offer on the property and paid
3500 to Larry Fleming to be used as earnest money. Not long thereafter, plaintiffs were
notified by defendant Pam Fleming, another realtor with Town & Country, that California
REO had made a counter-offer. Plaintiffs accepted that counter»offer and were advised by
Pam Fleming that they had a contract with the seller to purchase the property, and that they
should begin making preparations to move to Tennessee. Ms. Fleming also told plaintiffs
to pay an additional $500 in earnest money, which they did.

The complaint further alleges that plaintiffs sold their home in Indiana for less than
full value and moved into an apartment until they could take possession of their home in
Tennessee. Mr. Forguson gave notice to his employer and plaintiffs took steps to arrange
for financing of the property in Tennessee, including paying for an appraisal Plaintiffs
subsequently notified Larry Fleming and Pam Fleming that the Bank of Camden had agreed

to finance the property.

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On January 21, 2005, at Town & Country’s request, plaintiffs executed two
documents and returned them to Town & Country. One of the documents was from
California REO, entitled “Counter Offer No. l.” The other was a document entitled
“Addendum ‘A’ to Contract.” Pam Fleming and another employee of Town & Country,
Donna Holcomb, continued to assure plaintiffs that the contract was final and that they could
make arrangements to move to Tennessee. Consequently, plaintiffs moved many of their
personal belongings to Tennessee.

Approximately one week after signing the addendum to the contract, plaintiffs were
in formed that Kelly Shearin and Joyce Shearin had left Town & Country to work as realtors
for Crye-Leike and had taken the listing on the property with them when they changed
companies Plaintiffs were further informed that Kelly Shearin and Joyce Shearin had
arranged for the sale of the property to an unknown person for a higher price and that they
would not be able to purchase the propertyl

Kelly and Joyce Shearin seek dismissal of plaintiffs’ claims against them on the
grounds that, at all relevant times, they were acting as listing agents for California REO, a
principal that was disclosed to and known by the plaintiffs Under Tennessee law, a known
agent of a disclosed principal can be liable for breach of contract only when the
“circumstances show that the agent intended to be bound or assumed the obligations under
the contract.” Menuskin v. Williams, 145 F.3d 755, 770 (6th Cir. 1998) (quoting l_-I_o_lt_v_.

American ProEressive Life Ins. Co., 731 S.W.Zd 923, 925 (Tenn. Ct. App. 1987)). The

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Shearins contend that the complaint contains no allegations that they intended to assume any
of the obligations under the contract between plaintiffs and California REO.

While the Shearins’ statement of Tennessee law is generally correct, their reading of
the plaintiffs’ complaint is not. While the plaintiffs do assert a claim for breach of contract,
that is not the only claim asserted against the Shearins. Plaintiffs have alleged causes of
action for misrepresentation, wrongful interference with contractual rights, and breach of
fiduciary and other duties. The status of Kelly and Joyce Shearin as listing agents for
California REO does not necessarily insulate them from liability on these claims.

The Court concludes that defendants Kelly and Joyce Shearin have failed to establish
that “no relief could be granted under any set of facts that could be proved consistent with
the allegations.” Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984). Therefore, the
motion to dismiss is DENIED.

lT IS SO ORDERED.

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UNITE’ sTATEs Dlsrnlcr JUDGE,

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DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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Honorable .l ames Todd
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